                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

AMERITOX, LTD., and
MARSHFIELD CLINIC, INC.,

                            Plaintiffs,                         OPINION & ORDER
       v.
                                                                     13-cv-832-wmc
MILLENNIUM HEALTH, LLC,

                            Defendant.


       In advance of the final pretrial conference set for April 7, 2015 at 1:30 p.m., the

court issues the following opinion and order on the parties’ pending motions in limine, as

well as a recently-filed joint request for expedited guidance on “order of proofs” at trial

(dkt. #374). As explained below, the court will bifurcate trial with the first phase solely

consisting of Millennium’s invalidity challenges; assuming the jury finds the ’680 patent

valid, the second phase will concern damages and, if appropriate, willful infringement. As

for the numerous motions in limine, for ease, the court has organized the motions by

primary area of concern, i.e., validity, damages and willful infringement.



                                          OPINION

I. Joint Request for Order of Proofs at Trial

       In a joint submission, the parties set forth their respective positions on the order

of proofs. Ameritox seeks to depart from this court’s usual practice by presenting its

willful infringement claim first, followed by Millennium’s invalidity challenges, with both

going to the jury in the first phase of the trial. The second phase of the trial, therefore,

would solely consist of damages. Millennium, on the other hand, wishes to proceed with
invalidity in the first phase of trial, saving both damages and willful infringement for the

second phase.

       Since plaintiffs offer no compelling reason to depart from usual practice, this is

not a close question. At the start of the trial, the jury will be informed that the court has

already determined that Millennium infringes the ‘680 patent. The only issue, therefore,

remaining as to liability is Millennium’s invalidity challenges. Because a jury’s finding of

willful infringement is only material in determining the appropriate damages award and

has no impact on any liability issue, the court finds generally that it is best-suited for the

second phase of a bifurcated trial. The argument that “[p]laintiffs traditionally present

first and this case should be no exception because Plaintiffs bear the burden of proof on

willful infringement” (Joint Submission (dkt. #374) 1) is silly. Plaintiffs also have the

burden on proving damages, but that does not serve as a basis for having the jury

consider damages before hearing Millennium’s invalidity challenges.

       Moreover, the jury need not reach willful infringement if either (1) the court

determines that plaintiffs have failed to prove by clear and convincing evidence that

Millennium “acted despite an objectively high likelihood that its actions constituted

infringement of a valid patent,” In re Seagate Technology, LLC, 497 F.3d 1360, 1371 (Fed.

Cir. 2007) (en banc) (see infra Section IV.A.); or (2) the jury finds in favor of Millennium

on its challenges to the validity of the ’680 patent. Judicial economy, therefore, strongly

favors trying willful infringement as part of the second phase of the trial.

       The only credible concern plaintiffs raise is that some of the evidence they wish to

submit in response to Millennium’s obviousness challenge -- namely, evidence of copying


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-- is also relevant to its claim of willful infringement. See SynQor, Inc. v. Artesyn Techs.,

Inc., 709 F.3d 1365, 1377 (Fed. Cir. 2013) (considering evidence of copying by

competitors as objective evidence of non-obviousness).       To clarify, if the evidence is

relevant to obviousness, nothing about this order precludes plaintiffs from introducing

that evidence in the first phase of the trial. The court, however, will not allow plaintiffs

to present the same evidence twice. Rather, plaintiffs can simply reference testimony and

evidence already received during the first phase of trial in its opening and closing

arguments for the second phase.         This approach also addresses at least some of

Ameritox’s concerns about convenience for Millennium’s witnesses.




II. Plaintiffs’ Defense to Millennium’s Invalidity Claims

       A. First Motion in Limine to Exclude Evidence Concerning Certain
          Defenses (dkt. #277)

       Under Federal Rules of Evidence 402 and 403, plaintiffs seek to exclude evidence

concerning any alleged waiver, laches, license, release, inequitable conduct, lack of

enablement, indefiniteness, lack of utility, lack of patentable subject matter, or non-

infringement. (Pls.’ First Mot. (dkt. # 277) 1.) Much of this motion in limine is made

moot by Millennium’s response. (Def.’s Opp’n (dkt. #329) 1-2.)                  Specifically,

Millennium has determined “not to present its defenses of inequitable conduct, waiver,

laches, license and release, as well as defenses predicated on Millennium’s proposed claim

construction, including indefiniteness, enablement and utility, following assessment of

the Court’s recent summary judgment orders and its claim construction determinations.”




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(Id. at 1.) This leaves the issue of whether the motion should be granted to exclude

evidence supporting Millennium’s patent eligibility defense under 35 U.S.C. § 101.

       The court will deny this aspect of the motion for two reasons. First, the court

simply denied Millennium’s summary judgment motion on patentable subject matter; it

did not grant summary judgment of no invalidity. (2/19/15 Op. & Order (dkt. #215).)

Second, a motion in limine is not the proper vehicle for excluding Millennium’s § 101

challenge to the ’680 patent. Plaintiffs made no effort to file a motion for summary

judgment on this issue and its de facto use of Rules 402 and 403 will go unheeded.

Accordingly, plaintiffs’ motion as applied to 35 U.S.C. § 101 is denied.


       B. Second Motion in Limine to Exclude Arguments Contrary to the Court’s
          Claim Construction (dkt. #279)

       Plaintiffs seek to exclude Millennium making arguments contrary to the court’s

claim construction opinion. (2/19/15 Op. & Order (dkt. #215).) Millennium opposes

the motion, arguing that plaintiffs have overreached, particularly with respect to willful

infringement.

       The parties’ concerns are largely accommodated by the court’s use of a bifurcated

trial. While Millennium will be precluded from interjecting dose-prediction limitations

into the asserted claims at the liability phase of the trial, Millennium will be afforded the

opportunity to rebut plaintiffs’ willful infringement claim with such evidence, as well as

legal argument.   In particular, Millennium may present any additional evidence and

argument on this issue to the court while the jury is deliberating on invalidity and

damages. See, e.g., Cohesive Techs., Inc. v. Waters Corp., 543 F.3d 1351, 1374 (Fed. Cir.


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2008) (affirming finding of no willful infringement despite rejecting defendant’s claim

construction where that construction was reasonable “in light of the specification and

prosecution history.”).

       With the exception of the willfulness phase, Millennium will also be precluded

from (1) cross-examining the inventor Dr. Larson (or any other witness) in any way that

suggests the claimed invention is limited to dose prediction; (2) arguing or suggesting

that Rx Guardian CD, which practices the asserted patent, is intended to or does predict

dose; and (3) offering any evidence or argument suggesting that it does not infringe the

asserted claims.




       C. Fifth Motion in Limine to Exclude Preston as Prior Art (dkt. #282)

       Plaintiffs seek an order excluding the introduction of the Preston Article.1 While

the motion reads like an unlikely motion for summary judgment, there are some aspects

that go to evidentiary issues worthy of consideration.           As an initial matter, “[w]hen

considering whether a given reference qualifies as a prior art ‘printed publication,’ the key

inquiry is whether the reference was made ‘sufficiently accessible to the public interested

in the art’ before the critical date.” Voter Verified, Inc. v. Premier Election Solutions, Inc., 698

F.3d 1374, 1380 (Fed. Cir. 2012) (citation omitted), cert. denied, 133 S. Ct. 2804 (2013).

       Plaintiffs contend that Preston should be excluded for two reasons.                    First,

plaintiffs contest a sworn affidavit by a third party, Todd Fenton. (Todd Fenton Affidavit

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 Preston, K. et al., Methadone and Metabolite Urine Concentrations in Patients Maintained on
Methadone, J. Anal. Toxicol., 27: 332-341 (2003). (See Expert Report of Roger L. Bertholf,
Ph.D. (“Bertholf Rept.”), Ex. G (dkt. #209-7).)

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(“Fenton Affidavit”) (dkt. #313-7).) Mr. Fenton is the librarian at the University of

Minnesota Bio-Medical Library, who averred that the Library made the Preston Article

available to the public no later than August 27, 2003, in advance of the ‘680 patent’s

filing date.

       Ameritox argues correctly that the affidavit is inadmissible hearsay at trial. The

hearsay concern has been mitigated by Millennium’s recent response indicating that it

may call Mr. Fenton as a witness if the need arises. (Def.’s 1st Am. Witness List (dkt.

#372) 3.)2 Even if Millennium is unable to produce Mr. Fenton as a witness at trial, the

Fenton Affidavit could still be admissible under the residual exception to hearsay, Fed. R.

Evid. 807, or at least considered if evidence ordinarily relied upon by a previously

disclosed expert, Fed. R. Evid. 703. Alternatively, Fed. R. Evid. 902(11) provides that a

business record is self-authenticating when accompanied by a written declaration by the

custodian or other qualified person that the record in question: (1) was made at or near the

time of the occurrence of the matters set forth by, or from information transmitted by, a

person with knowledge of those matters; (2) was kept in the course of the regularly

conducted activity; and (3) was made by the regularly conducted activity as a regular

practice. See Thanongsinh v. Bd. of Educ., 462 F.3d 762, 777 (7th Cir. 2006).

       Without explanation, plaintiffs argue that Mr. Fenton is not a custodian because

he had “only been working at the Library since 2009” and, therefore, cannot authenticate

the Preston Article. (Pl.’s Fifth Mot. (dkt. #282) 2.) What Fenton’s tenure has to do

with his responsibility as custodian of records is wholly unclear, and plaintiffs point to no

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 Millennium indicates that it had hoped the parties would stipulate to the admissibility
(and authenticity) of the Fenton affidavit, but apparently this has not occurred.
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case law to support this apparent non sequitur.       Indeed, in Thanongsinh, the Seventh

Circuit held that “the custodian need not be the individual who personally gather[ed] . . .

[the] business record.”     462 F.3d at 777 (emphasis added) (alteration in original).

Rather, the custodian “need only be familiar with the company's recordkeeping

practices.” Id. The court finds that as librarian and business manager of the library,

Fenton satisfies this threshold requirement.

        Mr. Fenton’s affidavit also meets the other criteria because (1) he avers to having

personal knowledge of the Library’s recordkeeping practices; (2) it attaches a “true and

correct copy” of the date-stamped Preston Article received by the library; and (3) it

explains the library’s practice is to affix date stamps to journal publications as the last

step before they are made available to the general public. (Fenton Aff. (dkt. #313-7) ¶¶

1-5.)   The Fenton Affidavit was also prepared under oath, meeting the declaration

requirement of Rule 902(11).       (See id.)   Assuming plaintiffs may cross-examine Mr.

Fenton as to any of these points, particularly the last one, the affidavit appears to meet

all of the requirements of Rule 902(11).3

        In its response, Millennium also challenges plaintiffs’ purported new theory that

the critical date is not August 28, 2003, but rather the earlier invention date

(approximately May 30, 2003). (Def.’s Opp’n (dkt. #332) 9.) Millennium characterizes

this as “litigation-by-ambush” because plaintiffs had given no advance notice of an earlier

invention date until March 5, 2015, when the inventor Dr. Larson filed a declaration.

(Dr. Michael E. M. Larson (“Larson Decl.”) (dkt. #284).) For this reason, Millennium

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 The court reserves on whether this evidence alone is enough to permit a reasonable jury
to find that Preston article was “sufficiently accessible to the public interested in the art.”
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argues that plaintiffs should be deemed to have waived the right to claim an earlier

invention date, citing several cases to support this position. See Promega Corp. v. Applied

Biosystems, LLC, No. 13-cv-2333, 2013 WL 2898260, at *5 (N.D. Ill. June 12, 2013)

(patentee waived any argument for an earlier priority date where that patentee failed to

provide any evidence of an earlier date in its interrogatory responses and failed to amend

responses in timely fashion), aff’d, 557 F. App’x 1000 (Fed. Cir. 2014); Sanofi-Aventis

Deutschland GMBH v. Genentech, Inc., No. C 08-4909 SI, C 09-4919 SI, 2011 WL

839411, at *27 (N.D. Cal. Mar. 7, 2011) (holding that patentee was “barred from

asserting that it is entitled to an earlier invention date” where assertion was made for the

first time in opposition to summary judgment), aff’d, 716 F.3d 586 (Fed. Cir. 2013); In re

Katz Interactive Call Processing Patent Litig., Nos. 07-ML- 01816-C-RGK, CV 07-4960-

RGK, 2009 WL 8636007, at *2-3 (C.D. Cal. July 28, 2009) (“To the extent that Katz

believed it had a good faith basis for asserting an earlier priority date, it was obligated to

do so by updating its discovery responses when it became aware of that position.”).

       The court finds that the facts in each of the cases cited by Millennium are

inapposite to the present case. In each case, the patentee waived an earlier priority date

because the patentee failed to assert it or produce any evidence of an earlier date when

called upon to do so by Fed. R. Civ. P. 37(c)(1), in response to legitimate discovery or by

virtue of misleading statements to the contrary. Here, Millennium provides no evidence

that plaintiffs failed to meet such an obligation to disclose an earlier filing date. While it

is true that plaintiffs did refer to the August 28, 2003, filing date in their opposition to

Millennium’s motion for summary judgement (see Pls.’ Opp’n (dkt. #172) 25), the court


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can find no point where plaintiffs were obligated to provide an earlier date or otherwise

placed the proverbial line in the sand for the purpose of binding their position at trial.4

       Thus, Millennium’s cries of prejudice fall flat. For some time, and at least before

the close of discovery, Millennium has been made aware of discovery documents

supporting an earlier filing date, as set forth in Dr. Larson’s declaration. (See generally

Larson Decl., Exs. A-C (dkt. ##284-1 to 284-3).)          Millennium certainly could have

sought further discovery on these issues to pin plaintiffs to a specific invention or filing

date but chose not to do so. Millennium’s position is not, therefore, one of prejudice, so

much as one of lost opportunity. For this reason, the court will permit plaintiffs to

introduce evidence of an earlier invention date.

       One further, related point is worth addressing before trial. Millennium argues that

whether or not Preston qualifies as prior art (for anticipation or novelty purposes), the

Preston Article indicates the level of ordinary skill in the art around the time of the

alleged invention, and the article can at least be offered and used to prove obviousness.

See Kinetic Concepts, Inc. v. Smith & Nephew, Inc., 688 F.3d 1342, 1360 (Fed. Cir. 2012)

(“Obviousness is a question of law based on underlying factual findings: (1) the scope

and content of the prior art; (2) the differences between the claims and the prior art; (3)

the level of ordinary skill in the art; and (4) objective indicia of nonobviousness.” (emphasis

added)).




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 At summary judgment, neither party moved on novelty or obviousness. The issue of
novelty (and the invention date) is only now before the court.



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       Millennium points to a Federal Circuit case holding that references may be used as

“indicators of the level of ordinary skill in the art,” even if they post-date the alleged

invention. See Thomas & Betts Corp. v. Litton Sys., Inc., 720 F.2d 1572, 1581 (Fed. Cir.

1983) (“[T]he M & E criteria, though not technically prior art, were, in effect, properly

used as indicators of the level of ordinary skill in the art to which the invention

pertained.” (citations omitted)); see also Disney Enters., Inc. v. Kappos, 923 F. Supp. 2d

788, 801 (E.D. Va. 2013) (“Publications published after the date of invention have long

been allowed ‘as evidence of the state of the art existing on the filing date of an

application.’”) (quoting In re Hogan, 559 F.2d 595, 605 & n.17 (C.C.P.A. 1977)).

       On a facial level, there would seem no reason why the Preston article could not be

admitted for the purpose of determining obviousness. No doubt corroborating testimony

will be required to ascertain what was generally known by the skilled artisan, because the

contents of the entire article could hardly be considered commonly known without more

for the simple reason that an academic journal tends to provide new insights beyond

what was generally known in the scientific literature.5 See In re Omeprazole Patent Litig.,

84 F. App’x 76, 81 (Fed. Cir. 2003) (“Genpharm reads too much into Thomas & Betts

because, unlike here, the document at issue in that case received additional support in

the form of testimony about the state of art at the time of the publication. The level of

skill in the art is a factual question, and the district court did not clearly err in declining to



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  To this end, Millennium and Ameritox may wish to stipulate whether the Preston
article would be considered within the ordinary skill level of those in field at the time of:
(a) the invention date, and (b) the filing date.


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consider the Up-to-Date disclosure as reflecting the level of skill in the art.”). In any

event, because the Fenton Affidavit may properly authenticate the article, and because

Mr. Fenton will apparently be available to testify, the court will deny plaintiffs’ motion.




        D. Sixth Motion to Exclude the George, Preston and Kell References (dkt.
           #285)

        Plaintiffs also seek to exclude: (1) the George and Preston references for purposes

of anticipation and obviousness, and (2) the Kell reference for purposes of obviousness.

          i.   The George Article (anticipation)

        Plaintiffs challenge the use of the George Article for the purpose of proving

anticipation on grounds that it is not relevant or would be confusing to the jury. See Fed.

R. Evid. 402, 403. In seeking this exclusion, plaintiffs point to the following:

       That the court, in the summary judgment opinion, stated that the George Article
        is (1) “[o]ne of the most relevant prior art references in this case” (2/19/15 Op. &
        Order (dkt. #215) 8); (2) that the only comparison disclosed in the George Article
        is a “patient’s test result to earlier results from that same patient” (id. at 10); and
        (3) that the George Article provides that “creatinine normalization was
        problematic and ‘for practical purposes . . . the only reliable method available to
        monitor methadone compliance is the use of plasma methadone drug testing” (id.
        at 53).

       That the George Article was the subject of extensive and repeated examination at
        the Patent Office. (See, e.g., Rebuttal Expert Report of Dr. Paul Orsulak (dkt.
        #118) ¶¶ 81-83 (excerpting portions of the prosecution history to show that
        George was considered by three different examiners); Expert Report of Roger L.
        Bertholf Ph.D. (dkt. #209) ¶ 48 (acknowledging George Article was “the focus of
        two reexaminations” of the asserted patent).)6



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   The Patent Office concluded that one skilled in the art would interpret the George
Article in relation to claim element step (f), and the related claim element step (b), as
follows:

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       Relying on both points, plaintiffs contend that the George Article by itself cannot

be found to anticipate the ’680 patent because step (f) is not disclosed. Because of this,

plaintiffs move the court to exclude the George Article for the purposes of Millennium’s

anticipation defense. For a variety of reasons, the court will deny plaintiffs’ motion in

limine at this time.

       As Millennium rightly points out, the court’s discussion of the George Article in

the summary judgment opinion was limited to the specific context of Millennium’s motion

on patent (in)eligibility under § 101. Nowhere did Ameritox put Millennium to its prrof

regarding, nor did the court consider, Millennium’s anticipation defense in light of the

George Article. (2/19/15 Op. & Order (dkt. #215).) Moreover, while Dr. Orsulak was

quoted as asserting that the “George Article only discloses comparing a patent’s test

result to earlier results from the same patient” (id. at 8), Millennium was under no

obligation to proffer any contrary evidence with respect to step (f). See Alice Corp. v. CLS

              Indeed in George, no comparison is made between the
              metabolite concentration of the 14 control subjects and the
              metabolite from any of the 56 drug users in order to ‘quantify
              the concentration’ of the test metabolite. Furthermore,
              although George suggests that data collected over time from a
              single individual could be used to provide the set of known
              normative data specific to the reference metabolite, step (b)
              of the claims requires the set of normative data to be
              collected from a ‘population’ . . . The declaration filed 29
              March 2013 by Dr. Michael E. convincingly asserts that one
              of ordinary skill in the art would understand “population” as
              used in the context of the ’680 patent and claims, to define a
              group of more than a single test subject . . . Thus the skilled
              artisan would understand the term “population” as . . . a
              group of more than one individual.

(Bertholf Rept., Ex. 19 (dkt. #209-19) 4-5.)


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Bank Int’l, 134 S. Ct. 2347, 2354–55 (2014). Because the comparative step (step (f)) lay

at the core of Millennium’s defense (particularly the first prong), and because the first

prong of Alice (abstractness) is a question of law,7 Millennium was not required to proffer

any evidence that step (f) existed in the prior art for the purposes of its § 101 defense.

Compare 2/19/15 Op. & Order (dkt. #215) 41-42, 44-57, with Mayo Collaborative Servs. v.

Prometheus Labs., Inc., 132 S. Ct. 1289, 1304 (2012) (“[T]he ‘wherein’ clauses simply tell

a doctor about the relevant natural laws.”).

       In fairness to plaintiffs, Dr. Wu opined that step (f) was routine, in addition to

being an abstract mental process, but he did not opine that all six steps of the invention

existed in a single prior art publication. Otherwise, presumably, Millennium would have

moved for summary judgment on novelty grounds (§ 102), not just patent eligibility (§

101). (Dr. Alan H. Wu Invalidity Report (“Wu Invalidity Rept.”) (dkt. #115) ¶ 113.)

Moreover, Millennium’s response, while long on the inappropriateness and timing of

plaintiffs’ sixth motion in limine, was noticeably short on showing that the George Article

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  Looking to the jury instructions filed to date, both parties seem to agree that the first
prong of Alice is a question of law. (Def.’s Proposed Jury Instructions (dkt. #304) 28
(“[The court has] determined that the claims of the ’680 patent are directed to an
abstract idea.”); (Pls.’ Proposed Jury Instructions (dkt. #290) 35) (“Plaintiffs do not
propose a jury instruction for this issue because it is an issue for the Court, not the
jury.”). Where the parties diverge is with respect to the second prong of inventive
concept, see Alice, 134 S. Ct. at 2354–55, but even this is a mixed question of fact and
law. In re Comiskey, 554 F.3d 967, 975 (Fed. Cir. 2009) (“As a question of law, lack of
statutory subject matter is a ‘ground [for affirmance] within the power of the appellate
court to formulate.’ While there may be cases in which the legal question as to patentable
subject matter may turn on subsidiary factual issues, Comiskey has not identified any
relevant fact issues that must be resolved in order to address the patentability of the
subject matter of Comiskey's application.”) (citations omitted.) During the final pretrial
conference, it will be incumbent on the parties to advise the court of their view as to
what facts remain in dispute for the jury to decide.

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could be read to teach steps (e) and (f) of the claims in the ‘680 patent (i.e., the

combination).     If this cannot be done to the court’s satisfaction before opening

statements, the court will preclude any representation that George anticipates the ‘680

patent during opening statements.

       Finally, plaintiffs’ assertion that because the George Article was the subject of

extensive and repeated examination at the Patent Office, it must be excluded from any

discussion on anticipation is a non-starter.     Although the statutory presumption may

make it “especially difficult” for Millennium to overcome the George Article because the

Patent Office reviewed the reference, this does not mean that the issue is entirely

foreclosed from jury determination. See Impax Labs., Inc. v. Aventis Pharm., Inc., 545 F.3d

1312, 1314 (Fed. Cir. 2008). For example, Millennium may proffer evidence at trial that

controverts what the Patent Office has found. This is a question of weight for the fact-

finder, not admissibility.

        ii.   The Preston Article (anticipation)

       Plaintiffs contend that the Preston Article should be excluded for purposes of

anticipation for reasons similar to the George Article. First, because Millennium’s expert

Dr. Bertholf opines that “the [George] article draws a similar conclusion” to the Preston

Article, plaintiffs contend that it should “be excluded because it is cumulative.” (Pls.’

Sixth Mot. (dkt. #285) 4) (quoting Bertholf Rept. (dkt. #209) ¶ 89).          If this were

plaintiffs’ only basis for objecting to the use of the Preston Article for purposes of

anticipation, the motion would border on the frivolous.       While the court is all for




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streamlining the trial, the notion that a defendant can submit only one piece of prior art

to show anticipation is ludicrous.

       However, plaintiffs also argue that the Preston Article “cannot anticipate because

it does not disclose the comparison of step (f).”       (Pls.’ Sixth Mot. (dkt. #285) 5)

Millennium counters that “[w]hile the parties may dispute whether the George Article

expressly discloses a step (f) comparison, there can be no question that the Preston

Article expressly discloses the comparison of step (f).” (Def.’s Opp’n (dkt. # 333) 6.)

Millennium supports this position with a quote from the Preston Article: “The present

data should be useful to clinicians as a comparison for their outpatients’ immunoassay

results and to scientists as a basis for addressing the potential utility of urine test for

monitoring compliance with methadone maintenance.” (Bertholf Rept. (dkt. #209) 8.)

       Much like George, it is not entirely clear how the Preston passage discloses step (f)

of the ’680 patent. Millennium’s response also provides no real explanation as to on how

its expert Dr. Bertholf equates the disclosure of a comparison of an individual patient’s

results over time with the disclosure of a comparison with a population of patients’

normative results. This creates the same level of doubt as to whether the Preston Article

is relevant to the issue of anticipation as the George Article. As with George, what tips

the scales is that the issue was not raised in a motion for summary judgment. See Fed. R.

Civ. P. 56(a)-(f). Had it been, Millennium would have been expected to come forward

with meaningful rebuttal evidence to ensure that the factual issue on anticipation --

whether the Preston Article discloses step (f) -- is disputed, and worthy of jury

determination.


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       Accordingly, because a motion in limine is an inappropriate forum to consider this

issue, and because the court declines plaintiffs’ offer to invite a Rule 56 (f) response from

Millennium at this late date,8 the court will deny Ameritox’s motion in limine at this

time and give Millennium an opportunity to explain at the final pretrial conference why

any statement as to the article anticipating the ‘680 patent should be allowed during

opening statements. (Def.’s Opp’n (dkt. #333) 6.)

       iii.   The George, Preston and Kell References (obviousness)

       Plaintiffs’ sweeping motion in limine as to the relevance of George, Preston and

Kell for purposes of obviousness is even more premature. Broadly speaking, plaintiffs

contend that all three references -- in isolation or when combined with other references in

the record -- should be excluded because they teach away from the comparison of step (f).

See Illumina Inc. v. Complete Genomics Inc., No. 10-cv-05542, 2013 WL 1282977, at *17

(N.D. Cal. Mar. 26, 2013) (“If a prior art reference ‘teaches away’ from an invention,

that invention is not made obvious by the prior art.”). While the court has reviewed the

George Article in prior opinions, including noting that it teaches away from the use of

creatinine for normalizing urine samples, that analysis was limited to the summary

judgment opinion on the issue of patent eligibility. (2/19/15 Op. & Order (dkt. #215) 9-

10.) Certainly, Millennium should by now be on notice that any evidence proffered at

trial will need to be relatively strong to undermine the express teachings in the George

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 In its motion, plaintiffs stated in a footnote: “While the Court could exclude George,
Preston, and Kell on evidentiary grounds, the Court would also be well within its
discretion to convert this motion to a motion for summary judgment because Millennium
has notice and a reasonable time to respond.” (Pls.’ Sixth Mot. (dkt. #285) 3 n.1.)



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Article. (Id. at 10 (“[T]here is too large of an interindividual variation to use urinary

excretion concentrations of methadone or EDDP as markers of compliance”; urinary

excretion testing “would point to a lack of suitability of using urine concentrations of

EDDP or methadone as markers of compliance”; and “the only reliable method available

to monitor methadone compliance is the use of plasma methadone drug testing.”).) A

similarly strong showing would also be required with respect to the Preston and Kell

references, if plaintiffs are correct in contending that those references teach away from

the use of creatinine as well.      Once again, however, if plaintiffs wanted a summary

judgment ruling on this issue, they should have put Millennium to its proof by the

deadline for dispositive motions.

       Moreover, whether a reference teaches away from a claimed invention is an issue

of fact for the jury. See Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1165 (Fed. Cir.

2006) (“As with other subsidiary obviousness inquiries, ‘[w]hat a reference teaches and

whether it teaches toward or away from the claimed invention are questions of fact.’”

(citation omitted)). As the Federal Circuit explained, “obviousness must be determined

in light of all the facts, and there is no rule that a single reference that teaches away will

mandate a finding of nonobviousness.” Id.9 This case is no exception, particularly when

plaintiffs seek to dispose of the obviousness issue not by way of a summary judgment

motion, but by way of motion in limine.


9
  In this case, there are several references that teach away, not just a single one -- so
Medichem perhaps has less persuasive weight. But given that the court has yet to hear
testimony from Millennium’s expert(s) on obviousness, the more prudent approach is to
allow all three references come in for the purposes of obviousness at this time.

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       Accordingly, the court denies Ameritox’s motion to exclude all three references as

to obviousness at this time.      Given the case law, the court will also not preclude

Millennium from referencing its obviousness defense in opening statements.10



       E. Thirteenth Motion to Exclude Evidence of Commercial Success During
          the Liability Phase (dkt. #295)

       Next, plaintiffs seek to exclude argument or evidence concerning the commercial

success of their products or concerning the means by which they allegedly achieved that

success during the liability phase of the trial. Typically, a patentee is the party seeking to

proffer evidence of commercial success to show non-obviousness. Here, the opposite is

true: plaintiffs are arguing that Millennium should be precluded from proffering any

evidence of commercial success. Plaintiffs represent that this evidence would include

without limitation (1) the 2010 Bain Study, (2) Ameritox’s salesforce.com data, (3)

Millennium’s test drive data, (4) pleadings from a prior false advertising case between

Ameritox and Millennium, (5) expert testimony or reports from the prior Florida

litigation, (6) testimony from Millennium witnesses concerning Millennium’s commercial

success or marketing messaging, (7) Millennium’s website, (8) Appendix 5 to the Bero




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   Because the issue of patent eligibility is decided under a different standard than
obviousness -- requiring that the additional element or combination of elements be “well
known” in the art, not simply known -- Millennium may want to refrain voluntarily from
referencing its patent eligibility defense in its opening statement in recognition that the
court might ultimately conclude that no reasonable jury could find in its favor on that
defense on the record at trial. See Mayo, 132 S. Ct. at 1298 (explaining the requirement
for “well understood, routine, conventional activity previously engaged in by scientists
who work in the field” when undertaking the inventive concept analysis).
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Report (dkt. #237-10), and (9) Bero’s commercial success expert report and the evidence

cited therein (Expert Report of Richard F. Bero (dkt. #263)).

       Consistent with the limited case law on this subject, see Miles Labs., Inc. v. Shandon

Inc., 997 F.2d 870, 878 (Fed. Cir. 1993) (while “indicia of non-obviousness” weigh in

favor of finding non-obviousness, “the lack of such evidence does not weigh in favor of

obviousness”), Millennium consents to this outcome.11 (Def.’s Opp’n (dkt. # 354) 24.)

At the same time, Millennium states that “[e]vidence such as testimony from Millennium

witnesses regarding marketing messaging, as well as pleadings from previous false

advertising litigation are relevant to rebut any copying theory presented at trial by

explaining that Millennium was positioning itself as different from Ameritox, not copying

RX Guardian CD, the science and technology of which Millennium was challenging in

court and in the marketplace.” (Id. at 24-25.) Accordingly, the court will grant plaintiffs’

motion to the extent that Ameritox does not open the door by proffering evidence on

commercial success or copying.




       F. Plaintiffs’ Motion to Exclude Millennium’s Expert: Alan H. Wu, PH.D.
          (dkt. #246)

       Ameritox seeks to exclude Dr. Wu from testifying at trial. The admissibility of

expert testimony in federal courts is governed principally by Federal Rule of Evidence

702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). Rule 702

provides:

11
  The court addresses whether evidence of commercial success may be admissible in the
second phase of trial below. See infra Sections III.A., III.B., VI.A.

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              A witness who is qualified as an expert by knowledge, skill,
              experience, training, or education may testify in the form of
              an opinion or otherwise if:

              (a) the expert’s scientific, technical, or other specialized
              knowledge will help the trier of fact to understand the
              evidence or to determine a fact in issue;

              (b) the testimony is based on sufficient facts or data;

              (c) the testimony is the product of reliable principles and
              methods; and

              (d) the expert has reliably applied the principles and methods
              to the facts of the case.

       A district court functions as a “gatekeeper” regarding expert testimony; the court

must determine whether a party’s proffered expert testimony is relevant and reliable.

Daubert, 509 U.S. at 589; see also United States v. Johnsted, 30 F. Supp. 3d 814, 816 (W.D.

Wis. 2013) (the expert testimony must be “not only relevant, but reliable.”). Although

expert testimony is “liberally admissible under the Federal Rules of Evidence,” Lyman v.

St. Jude Med. S.C., Inc., 580 F. Supp. 2d 719, 723 (E.D. Wis. 2008), it must nevertheless

satisfy the following three-part test:

              (1) the witness must be qualified “as an expert by knowledge,
              skill, experience, training, or education,” Fed. R. Evid. 702;

              (2) the expert’s reasoning or methodology underlying the
              testimony must be scientifically reliable, Daubert, 509 U.S. at
              592-93; and

              (3) the testimony must assist the trier of fact to understand
              the evidence or to determine a fact in issue. Fed. R. Evid.
              702.

Ervin v. Johnson & Johnson, Inc., 492 F.3d 901, 904 (7th Cir. 2007). “Vigorous cross-

examination, presentation of contrary evidence, and careful instruction on the burden of


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proof are the traditional and appropriate means of attacking shaky but admissible

evidence.” Daubert, 509 U.S. at 596.

       Plaintiffs argue that Dr. Wu’s opinions should be excluded under Federal Rule of

Evidence 702 because they are “fundamentally unreliable.” (Pls.’ Br. (dkt #247) 3.)

Because many of the opinions originally proffered by Dr. Wu have been rendered moot

by the court’s summary judgment opinion, “Dr. Wu’s testimony will now be limited in

scope.”   (Def.’s Opp’n (dkt. # 351) 2.)12         Specifically, Millennium consents to his

testimony being restricted to just two areas: (1) patentable subject matter, and (2) the

limited purpose of defending against Ameritox’s case for willful infringement with regard

to the reasonableness of his claim construction and non-infringement opinions. (Id.)

Still, plaintiffs take issue with the reliability of these remaining opinions.

       Before addressing whether Dr. Wu’s opinions in these areas are reliable, some

context is appropriate.    With respect to patentable subject matter, Dr. Wu generally

opined on creatinine normalization, the sources of variability in urine drug

concentrations and the capabilities of urine drug testing. (Dr. Alan H. Wu Invalidity

Report (“Wu Invalidity Rept.”) (dkt. #115) ¶¶ 59-85.) He also opined that creatinine

normalization of urine samples was generally known at the time of the ’680 patent. (Id.

at ¶ 112.) These opinions are certainly relevant to remaining issues of patentability and

non-infringement.

12
   Specifically, Millennium has determined “not to present its defenses of inequitable
conduct, waiver, laches, license and release, as well as defenses predicated on
Millennium’s proposed claim construction, including indefiniteness, enablement and
utility, following assessment of the Court’s recent summary judgment orders and its claim
construction determinations.” (Def.’s Opp’n (dkt. #329) 1.)

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       Dr. Wu’s evidence regarding claim construction and non-infringement -- in

support of Millennium’s defense to willful infringement -- is also relevant. Although Dr.

Wu’s claim constructions were rejected at summary judgment, the Federal Circuit has

held that reasonable claim constructions -- even if not adopted -- can show that there is

no objectively high likelihood of infringement.     See Cohesive Techs, 543 F.3d at 1374

(finding no willful infringement, despite rejecting defendant’s claim construction, where

that construction was reasonable “in light of the specification and prosecution history”);

Douglas Dynamics, LLC v. Buyers Prods. Co., 747 F. Supp. 2d 1063, 1113 (W.D. Wis.

2010).13

       Because Dr. Wu’s opinions would be relevant for the limited purposes that

Millennium now proposes to advance them, the court turns to whether his evidence is

reliable and the specific reasons plaintiffs advance to exclude them. First, plaintiffs argue

that Dr. Wu is biased based on a theory that he had been a colleague of Millennium’s

former laboratory director, Dr. Amadeo Pesce. (Pls.’ Mot. (dkt. #246) 5.) In reviewing

the parties’ materials, there is simply no support in the case law for excluding an expert

based on bias of this nature. The best that Ameritox can muster is a law digest. See

Robert A. Matthews, Jr., Annotated Patent Digest, § 44:43.150 (2014). Not only is this

reference unpersuasive, it runs counter to other, more persuasive authorities: “[I]t is well-

established that an expert’s bias is not a proper basis to bar testimony under Daubert.”


13
   Of course, to the extent that Dr. Wu is giving evidence with respect to the objective
prong of willfulness, that prong will be examined solely by the court, somewhat
ameliorating plaintiffs’ concerns as to admissibility or at least allowing the court to hear
testimony before ruling on admissibility.

                                             22
See Cage v. City of Chi., 979 F. Supp. 2d 787, 827 (N.D. Ill. 2013) (citing DiCarlo v. Keller

Ladders, Inc., 211 F.3d 465, 468 (8th Cir. 2000)); see also In re Unisys Savings Plan Litig.,

173 F.3d 145, 166 n.11 (3d Cir. 1999) (“Courts have held in numerous other cases that

credibility is irrelevant to determining whether a proposed expert witness’s testimony is

admissible under Rule 702, and particularly whether it is based on reliable methodology .

. . . For example, expert witnesses cannot be excluded on the basis of bias.” (citations

omitted)).14 Moreover, during his deposition, Dr. Wu flatly denied the accusation of bias

and stated that he had not even discussed his opinions with Dr. Pesce. (01/30/15 Wu

Dep. (dkt. #205) 89:12-21 (“Q. Did your relationship with Dr. Pesce impact your

opinions in this case? A. No.”).)     As such, plaintiffs’ motion to exclude Wu’s testimony

on the basis of bias is essentially frivolous.15

       Second, plaintiffs contend that Dr. Wu’s opinions are unreliable because he

estimated that he only spent thirty hours working on the case. (Id. at 70:17-21.) Based

on this estimate, plaintiffs speculate that Dr. Wu’s opinions cannot be his own and, thus,

are unreliable.   Again, this argument is void of citation to case law, which is hardly

surprising since case law suggests that the amount of time Dr. Wu spent on this case is


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  Further, plaintiffs argue bias based on the fact that Dr. Wu is the laboratory director
for a pain management practice -- the Puana Pain Management Group -- that uses
Millennium as its reference laboratory, among other relatively insignificant accusations of
bias. (Pls.’ Br. (dkt. #247) 5.) Not only is the evidence of bias weak, but any evidence
of bias would again simply go to weight and does not serve as a basis to exclude Dr. Wu’s
testimony.
15
  The court is hopeful that counsels’ predilection on both sides to “throw in the kitchen
sink” will end with their overblown motions in limine and unfiltered exhibit lists.
Regardless, the court will end any failure to reasonably narrow and refine their
submissions to the jury.
                                               23
not a proper ground for exclusion. See Ernst v. City of Chi., 39 F. Supp. 3d 1005, 1011

(N.D. Ill. 2014) (“The thoroughness of [an expert’s preparation] goes to the weight of his

testimony rather than its admissibility.” (citation omitted)).     Particularly given that

plaintiffs do not dispute that Dr. Wu did spend 30 hours on his opinions in this matter,

the holding in Ernst generally seems sensible and certainly seems reasonable here.

       Third, plaintiffs contend that Dr. Wu’s inability to recall at deposition a specific

document -- the reexamination certificate of the ’680 patent -- necessarily means that he

did not independently form his opinions or draft his expert reports.       (Pls.’ Br. (dkt.

#247) 8-11.) As an initial matter, this accusation does not entirely match the record.

Throughout the deposition, Dr. Wu testified that he was aware the patents-in-suit

underwent reexamination. (See, e.g., 01/30/15 Wu Dep. (dkt. #205) 182:4-7.) Dr. Wu

also testified that he had considered claims added during reexamination as part of his

analysis. (Id. at 213:1-17.)16

       Even if Dr. Wu were unaware of the reexamination certificate, his inability to

recall the reexamination certificate would have marginal (if any) bearing on his opinions

under § 101 since the parties’ dispute on patent eligibility centered on claim 1 (which

was not amended during the reexamination process with respect to the ’680 patent).

And again, whether his opinions should be excluded for the purposes of the objective




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   Dr. Wu’s expert report also states that he considered the claims added during the
reexaminations of the patents-in-suit. (Dr. Alan H. Wu Rebuttal Report (“Wu Rebuttal
Rept.”) (dkt. #116) ¶¶ 62-70, 79-87) (assessing non-infringement of claims added during
reexaminations of the patents-in-suit).)



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prong regarding willfulness, is mollified by the fact that this prong will not be heard by

the jury. See supra Section II.B.; infra Section IV.A.

        Fourth, plaintiffs cite to testimony by Dr. Wu indicating confusion as to certain

legal terms and regarding areas in which he did not render opinions in his expert reports.

The court also finds such confusion more an issue of weight, than of exclusion.          See

Sunbeam Prods., Inc. v. Homedics, Inc., 670 F. Supp. 2d 873, 882-83 (W.D. Wis. 2009),

aff’d, 412 F. App’x 263 (Fed. Cir. 2010). To address briefly just one of the challenges

going to this issue, plaintiffs question Dr. Wu’s overall reliability because he “didn’t

know” the meaning of certain claim steps or claim terms.17 (Pls.’ Br. (dkt. #247) 7-8, 16-

17.)   As a result, plaintiffs now assert that Dr. Wu’s non-infringement opinions are

unreliable because he consistently opined that step (f) of the ‘680 claim is indefinite, but

did not know what the plain and ordinary meaning of step (f) was.

        The court finds this attack essentially frivolous as well. During deposition, Dr.

Wu indicated that he only understood step (f) as meaning a dose or dose range.

(01/30/15 Wu Dep. (dkt. #205) 218:16-219:1 (“Q. Do you have an opinion if

Millennium practices step (f) of the asserted claims of the Larson's patent if the court

does not adopt your proposed claimed construction? A. If the court does not adopt my

interpretation that [step] (f) means finding a dose or a dose range, then I would have to

be told what [step] (f) means because it then becomes ambiguous. And, therefore,

without knowing what [step] (f) means, I can't answer your question.”).) In short, Dr.

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   Ameritox also pedantically argues that because Dr. Wu did not give opinions on
anticipation and obviousness in his report, his deposition testimony stating that he did
renders him unreliable.

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Wu rendered no opinion on the plain and ordinary meaning of step (f) except that step

(f) was dose specific. Naturally, he found step (f) was indefinite. (Wu Invalidity Rept.

(dkt. #115) ¶ 26.) Because of this, there was no inconsistency between his expert report

and his deposition testimony. Indeed, the fact that Dr. Wu did not view the claims as

having meaning (other than “dose specific”) could be relevant for the “limited purpose of

demonstrating the reasonableness of Millennium’s interpretation of the ’680 patent

claims upon which a noninfringement determination would be based.” (Def.’s Opp’n

(dkt. # 351) 12); see also Douglas Dynamics, 747 F. Supp. 2d at 1113 (“[b]ecause the

claim language was susceptible to Buyers’ reasonable construction and acceptance of that

construction at most would have led to a finding of noninfringement (and at least have

created a very close call on infringement), there was no objectively high likelihood of

infringement.”)).

       Fifth, plaintiffs contend that Dr. Wu’s opinions should be excluded as unreliable

because allegedly (1) Millennium selected the materials reviewed by Dr. Wu in forming

his opinions and (2) he conducted no independent investigation of the facts underlying

his opinions. (Pls.’ Br. (dkt. #247) 11-12.) As an initial matter, Millennium did not

select all of the materials Dr. Wu reviewed. As he explained at deposition, Dr. Wu asked

for “additional documents that [he] felt were necessary, or at least asked if they existed.”

(01/30/15 Wu Dep. (dkt. #205) 62:11-16.)            Even if Dr. Wu had only reviewed

documents provided by Millennium’s counsel, that alone would not render his opinions

so unreliable that they should be excluded. The case law cited in plaintiffs’ own brief

states as much. See R.F.M.A.S., Inc. v. So, 748 F. Supp. 2d 244, 269 (S.D.N.Y. 2010)


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(“Defendants urge that the testimony of plaintiff’s expert is inherently unreliable because

plaintiff’s counsel provided almost all of the data on which they based their opinions . . .

. Unless the information or assumptions that plaintiff’s experts relied on were ‘so

unrealistic and contradictory as to suggest bad faith,’ inaccuracies in the underlying

assumptions do not generally render an expert’s testimony inadmissible.”) (citing Zerega

Ave. Realty Corp. v. Hornbeck Offshore Transp., LLC, 571 F.3d 206, 214 (2d Cir. 2009)).

Since there is nothing in plaintiffs’ submissions supporting a finding of “bad faith,” any

notion that Dr. Wu’s opinions must be excluded because Millennium selected materials

for him to consider in forming his opinion is without merit.

       Plaintiffs’ additional argument is that Dr. Wu’s opinions are unreliable because he

conducted no independent investigation since he acknowledged not doing any such

investigation.    (01/30/15 Wu Dep. (dkt. #205) 44:9-14. (“Q. What research or

investigation have you performed in the context of this litigation? A. I’ve done no

research   in    the   context   of   this   investigation.   I   have   rendered   opinions.”).)

Notwithstanding this, Dr. Wu is free to testify why this was not necessary, as well as to

his requests for Millennium to run literature searches on his behalf. (01/30/15 Wu Dep.

(dkt. #205) 63:17-64:24.)

       The request for such searches demonstrates independent thought and cuts against

plaintiffs’ theory that he “considered only Millennium’s cherry-picked information to

parrot Millennium’s beliefs.” (Pl’s Br. (dkt #247) 11.) But even if he failed to request the

searches, and only accepted information provided by Millennium, the case law suggests

that this concern also goes to weight, “rather than . . . admissibility.” NutraSweet Co. v.


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X-L Eng'g Co., 227 F.3d 776, 789 (7th Cir. 2000) (expert used data obtained by plaintiff's

hydrologists rather than data he generated himself, creating an issue of weight, not

admissibility).18

       Sixth, plaintiffs make one final argument styled as a ‘catch all’ that essentially

accuses Dr. Wu of allowing his report to be ghost-written. (See, e.g., Pls.’ Br. (dkt #247)

8 (discussing “Wu’s substantial lack of participation in forming his opinions or drafting

his expert reports”).) This accusation stems largely from testimony already addressed

above. There is, however, no evidence in the record that would justify striking Dr. Wu’s

report altogether. To justify that result, plaintiffs would have to show that Millennium

exerted some level of undue influence or that Dr. Wu signed the opinion to appease

Millennium. See Trigon Ins. Co. v. United States, 204 F.R.D. 277, 292 (E.D. Va. 2001) (a

“distinction [exists] between those opinions that an expert ‘freely authorized and

adopted as his own’ and those that are done ‘merely for appeasement or because of

intimidation or some undue influence by the party or counsel who has retained him.’”).




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   The other cases that plaintiffs cite addressing this point are unavailing. Not only were
they district court cases from other circuits, but none was set in the context of patent
invalidity. Cf. R.F.M.A.S., Inc. v. So, 748 F. Supp. 2d 244, 257 (S.D.N.Y. 2010) (involves
expert calculating damages and not reviewing materials beyond those provided by
counsel); State Farm Fire & Cas. Co. v. Electrolux Home Prods., Inc., 3:08-CV-436, 2013 WL
5770343, at *5 (N.D. Ind. June 17, 2013) (expert calculating damages attributable to
fires caused by electrical goods where expert failed to verify data and cross-reference with
other sources); Hot Wax, Inc. v. Warsaw Chem. Co., 45 F. Supp. 2d 635, 638 (N.D. Ill.
1999) (expert being informed of a position by defendant’s company and basing his report
that wax existed in defendant’s product without further testing or verification).


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That evidence does not exist here.19 Accordingly, Dr. Wu will be permitted to testify at

trial consistent with his written report.


III. Millennium’s Damages Defense

       A. Motion to Exclude the Expert Testimony of Richard F. Bero, CPA, CVA
          Proffered by Millennium Health, LLC (dkt. #274)

       Plaintiffs seek to exclude the testimony of Millennium’s damages expert Richard

Bero as unreliable and irrelevant under Rule 702 and Daubert.           Plaintiffs’ challenge

centers on Bero’s analysis of the Georgia-Pacific factors and his conclusion of a reasonable

royalty rate in a hypothetical negotiation, positing three reasons to exclude Bero’s

testimony in whole or in part.

       First, plaintiffs contend that Bero’s testimony on non-infringing alternatives to

Millennium’s RADAR report should be excluded because (1) he failed to prove the

existence of non-infringing alternatives available on the market during the time of the

hypothetical negotiation; and (2) Millennium admits no non-infringing alternatives exist.

In addition to the fifteen Georgia-Pacific factors, plaintiffs acknowledge that a jury may

also consider the existence of non-infringing alternatives when determining a reasonable

royalty. See Zygo Corp. v. Wyko Corp., 79 F.3d 1563, 1571-72 (Fed. Cir. 1996). This is in

recognition of the fact that an infringer in a hypothetical negotiation “would have been

in a stronger position to negotiate for a lower royalty rate knowing it had a competitive

noninfringing device ‘in the wings.’” Id.    Importantly, it is plaintiffs’ burden to show a

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  Plaintiffs’ cases are wholly inapposite. See, e.g., Numatics, Inc. v. Balluff, Inc., No. 13-
11049, 2014 WL 7211167, at *5 (E.D. Mich. Dec. 16, 2014) (the expert admitted that
counsel actually typed the expert’s reports and the stricken report adopted discovery
responses and invalidity contentions verbatim).
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lack of noninfringing alternatives. Cohesive Techs., Inc. 543 F.3d at 1373 (“[T]he patent

owner must show either that (1) the purchasers in the marketplace generally were willing

to buy the patented product for its advantages, or (2) the specific purchasers of the

infringing product purchased on that basis.”) (quoting Standard Hvens Prods., Inc. v.

Gencor Indus., Inc., 953 F.2d 1360, 1373 (Fed. Cir. 1991)).

       Millennium argues that plaintiffs are conflating two distinct questions:       (1)

whether there is no design-around for the patent-in-suit and (2) whether there is no non-

infringing substitute.   In support, Millennium specifically takes issue with plaintiffs’

reliance on certain deposition testimony of Millennium’s President:

              Q.    Does Millennium understand what steps would be
              required or necessary to design around the patents-in-suit?

              ...

              A. Again, that’s a hard question to answer, because we
              haven’t done any work to do any design-around.

(Deposition of Howard Appel (dkt. #201) 66; see also Pls.’ Mot. to Exclude Bero, Ex. D

(dkt. #275-4) (responding to interrogatory 24: “Millennium states that it has not

attempted to design-around the patents-in-suit.”).) As Millennium correctly points out,

this testimony concerned Millennium’s efforts to design around the patents in suit, not

whether there were non-infringing alternatives. (Def.’s Resp. (dkt. #354) 9 p.5.) As

such, the court rejects plaintiffs’ argument that Millennium has somehow conceded that

there are no non-infringing alternatives.

       Relatedly, Millennium is right to criticize plaintiffs’ position that the “only

possible acceptable noninfringing substitute would be a urine drug test report delivering



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range-based results.” (Def.’s Opp’n (dkt. #354) 9.) “[A] noninfringing substitute need

not have the patented feature in order to be deemed ‘acceptable.’” Apple, Inc. v. Samsung

Elecs. Co., No. 11-CV-01846-LHK, 2013 WL 5958178, at *2 (N.D. Cal. Nov. 7, 2013);

see also SmithKline Diagnostics, Inc. v. Helena Labs. Corp., 926 F.2d 1161, 1166 (Fed. Cir.

1991) (“[Plaintiff] argues in effect that the noninfringing products lacked one or more

features of the patented invention and, therefore, would not be deemed part of the

market. However, by definition, noninfringing products do not represent an embodiment

of the invention.”). Still, plaintiffs are correct in asserting that “buyers must view the

substitute as equivalent to the patented device.” (Pls.’ Br. (dkt. #275) 7 (quoting Am.

Seating Co. v. USSC Grp., Inc., 514 F.3d 1262, 1270 (Fed. Cir. 2008)).)

       Whether the jury will accept Millennium’s RADAR report without graphed results

of a normalized population of comparable drug users as a noninfringing alternative is not

for the court to determine. See Am. Seating Co., 514 F.3d at 1270. Rather, it will be up

to the jury to determine whether the RADAR report within the range-based results

“possess[es] characteristics significantly different” from the patented product so as not to

be an acceptable substitute. Cent. Soya Co., Inc. v. Geo. A. Hormel & Co., 723 F.2d 1573,

1579 n.4 (Fed. Cir. 1983). At least at this stage, Millennium has also put forth sufficient

evidence that it sells a product without the graphed or range-based results to allow Bero’s

testimony about the availability of this purported non-infringing alternative to go to the

jury. (Def.’s Opp’n (dkt. #354) 12.) Accordingly, the court rejects Ameritox’s first basis

for excluding Bero’s testimony.




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       Second, plaintiffs take issue with Bero’s lump-sum annual royalty analysis, arguing

that Bero improperly converted a running royalty as the starting point for determining a

reasonable royalty under a hypothetical negotiation. The first two Georgia-Pacific factors

consider “[t]he royalties received by the patentee for the licensing of the patent in suit,

proving or tending to prove an established royalty” and “[t]he rates paid by the licensee

for the use of other patents comparable to the patent-in-suit.” 318 F. Supp. at 1120.

Under these factors, however, the trier of fact may decide “whether the licensor and

licensee would have agreed to a lump-sum payment or instead to a running royalty based

on ongoing sales or usage.” Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1326 (Fed.

Cir. 2009).

       As the Lucent court explained, there are “[s]ignificant differences” between a

running royalty license and a lump-sum license, in part because under the latter, “the

licensee is obligated to pay the entire, agreed-upon amount for the licensed technology,

regardless of whether the technology is commercially successful or even used.” Id. On

the flip side, if the licensed technology is “wildly successful, . . . the licensee may have

acquired the technology for far less than what later proved to be its economic value.” Id.

       In reaching his opinion, Bero relied on the lump-sum annual royalty for the

infringed product entered into between Ameritox and Marshfield Clinic. In contrast,

Ameritox’s expert as described below relies on a running royalty licensing arrangement

with U.D. Testing, Inc. See supra Section IV.B. Plaintiffs argue that Ameritox assumed

certain risk in entering into the licensing agreement with Marshfield Clinic on the patent

in suit, resulting in “Ameritox paying less expensive royalties to Marshfield than it was


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paying to U.D. Testing.” (Pls.’ Br. (dkt. #275) 13.) As an initial matter, Millennium is

correct to point out that the Marshfield licensing agreement is different from the

traditional lump-sum royalty challenged in other cases.          The Marshfield licensing

agreement involves smaller payments on an annual basis, rather than an up-front lump

sum payment. Even putting this distinction aside, plaintiffs are free to present to the

jury their argument that Bero failed to account for the risk involved in the Marshfield

licensing agreement in converting that licensing arrangement to a running royalty rate,

but that does not render Bero’s opinion unreliable; rather, any criticisms of relying on a

licensing agreement which provided for annual lump-sum payments are ripe grounds for

cross-examination and go to the weight to be given Bero’s testimony by the jury.20

       Plaintiffs also take issue with Bero’s methodology in converting a lump-sum

annual royalty license to a running royalty. The focus of this argument again concerns

whether Bero adequately considered the risk assumed by Ameritox in entering into the

licensing agreement with Marshfield. So, too, is the court’s ruling: while fodder for

cross-examination, this criticism does not render Bero’s report unreliable or otherwise

serve as a basis for excluding his testimony under Rule 702 or Daubert. Ultimately, it will

be for Bero to explain, and the parties to argue over, whether that agreement applies to

the facts of this case. Whitserve, LLC v. Computer Packages, Inc., 694 F.3d 10, 30 (Fed. Cir.

2012) (“[L]ump sum payments similarly should not support running royalty rates

without testimony explaining how they apply to the facts of the case.”).



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  This is yet another example of a fairly rudimentary principle of evidence. The court
will expect more of counsel going forward.
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       Third, related to plaintiffs’ motions to exclude evidence on commercial success

(dkt. ##294, 296), plaintiffs seek to exclude Bero’s testimony on the lack of commercial

success of Ameritox’s Guardian Rx CD product. If the court allows commercial success

testimony generally, plaintiffs contend in the alternative that the court should still

exclude testimony on the commercial success of the Guardian product as unreliable, since

Bero simply adopted another expert’s opinions without conducting any independent

investigation. Bero, however, testified at his deposition to his (or his office’s) analysis of

the data provided in the other expert’s report, and indicated in his own report that he

reviewed other experts’ reports, including those of plaintiffs’ experts, in reaching his

conclusions on the commercial success (or lack thereof) of Ameritox’s products,

presumably including Guardian. (Def.’s Opp’n (dkt. #354) 19.) Moreover, as an expert,

Bero can rely on information for which he does not have first-hand knowledge.             See

Daubert, 509 U.S. at 592 (“Unlike an ordinary witness, see Rule 701, an expert is

permitted wide latitude to offer opinions, including those that are not based on firsthand

knowledge.”).

       Finally, plaintiffs argue that evidence as to Factor 8 of the Georgia-Pacific analysis

(concerning the profitability of the patented product, its commercial success and its

current popularity) should be excluded on relevance grounds because both experts opine

that the factor is neutral. While Millennium concedes that there is no dispute as to the

weight that should be given this factor, the court agrees with Millennium that Bero’s

testimony on this factor is still relevant because “even though [both experts] concluded

the factor was neutral in their own analysis, it is not necessarily the case that Millennium


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agrees that the factor is neutral in relation to the starting point of Plaintiffs’ expert.”

(Def.’s Opp’n (dkt. #354) 21.) Moreover, the jury is allowed to weigh the credibility

and analysis of the sides’ experts on all Georgia-Pacific factors, including those on which

they may ultimately agree.

       Accordingly, the court will deny Ameritox’s motion to exclude the testimony of

Millennium’s damages expert Richard Bero.




       B. Twelfth Motion in Limine: Preclude Both Parties from Presenting
          Evidence Concerning Georgia-Pacific Factor 8 (dkt. #294)

       As explained above, Ameritox also seeks an order precluding both parties from

presenting evidence concerning Georgia-Pacific Factor 8. For the reasons explained above,

the court agrees with Millennium that even though both experts find this factor to be

neutral, Millennium’s expert should be allowed to describe how the factor is not neutral

with respect to Ameritox’s starting royalty rate of $6.00 per accused sample.

       As for plaintiffs’ concern that this evidence will turn into a “sideshow involving

tangential issues already litigated in the prior Florida litigation” (Pls.’ Twelfth Mot. (dkt.

#294) 3), it is largely unwarranted. As far as the court can discern, Factor 8 concerns the

patented product’s commercial success at the time of the start of infringement, not the

infringing product’s subsequent commercial success, and therefore Millennium’s

subsequent market performance and the reasons for that performance are not relevant, at

least with respect to that factor. Of course, Millennium’s success in selling the RADAR

reports and the reasons for that success -- in particular, the disputed importance of non-

patented components of the invention -- are relevant to Factor 13 (concerning the

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portion of profits attributable to the patented invention), but that “sideshow” is not

avoided by excluding evidence as to Factor 8; in any event, the court will expect counsel

to be as brief and to the point as possible on all factual issues at trial, and it will entertain

cumulative or relevance objections if any party goes too far afield or is repetitive. The

court sees no basis for excluding all evidence on this factor before trial, however.

Accordingly, the court will deny Ameritox’s twelfth motion in limine as well.




       C. Fourteenth Motion In Limine: Exclude Millennium’s Test Drive Data
          (dkt. #296)

       Citing to Federal Rules of Evidence 403, 802 and 803, plaintiffs seek an order

excluding evidence of customers’ opinions based on “test drives” of Millennium’s

RADAR report product. Beginning in 2009, Millennium offered these “test drives” so

that the potential customer could appreciate the service Millennium offers. The results

of these test drives -- whether the potential customer chose Millennium or another

laboratory and the reason or reasons for the customer’s decision -- were collected in

spreadsheets. (Declaration of Mark T. Smith, Ex. O (dkt. #307-15).) Given customer

statements suggesting that turnaround time, customer service, and the ability to test with

less urine were the drivers for customers’ decisions, Millennium points out that the

“graphed results” are mentioned only three times in 435 lines of test drive information.

(Def.’s Opp’n (dkt. #338) 3.) Millennium’s damages expert Bero relied in part on this

data, along with other sources of information, to opine that customers select




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Millennium’s RADAR report for other reasons than the graphed results. Millennium

contends that this information is pertinent to Factor 8 of the Georgia-Pacific factors.21

       Plaintiffs contend that this “data presents two levels of hearsay:             (1) the

customer’s statement to a Millennium sales representative, and (2) the sales

representative’s entries into the spreadsheet.” (Pls.’ Fourteenth Mot. (dkt. #296) 2.) As

to the customer’s statements, plaintiffs simply argue the statements do not fall within

any of the hearsay exceptions. In response, Millennium directs the court to cases in

which courts, including the Seventh Circuit, have held that customer survey responses

fall within the state of mind exception to hearsay under Federal Rule of Evidence 803(3).

See Grove Fresh Distribs., Inc. v. New Eng. Apple Prods. Co., 969 F.2d 552, 556 (7th Cir.

1992); see generally 6 McCarthy on Trademarks and Unfair Competition § 32:168 (4th

ed. 2014) (“[C]ases are now unanimous that evidence of the state of mind of persons

surveyed is not inadmissible as hearsay.”). (See also Def.’s Opp’n (dkt. #338) 6 (citing

cases).) As Millennium also argues, the customer statements need not be admitted for

the truth of the matter asserted to be probative. Instead, the evidence collected up until

June 2011 (the date of the hypothetical negotiation) could be relevant to “demonstrating

Millennium’s understanding of market drivers” going into negotiations, regardless of

whether the customers’ purported reasons for selecting Millennium or one of its

competitors were the true reasons. (Id. at 8.)

       As for the second basis, plaintiffs anticipate Millennium’s response that the

spreadsheet itself falls within the business record exception under Rule 803(6), arguing

21
  Once again, the court questions whether this evidence goes to Factor 8, but still finds it
arguably relevant to the jury’s consideration of Factor 13.
                                             37
instead that the evidence is “anecdotal, subjective, unverified and unused” and, therefore,

is not “trustworthy.” (Pls.’ Fourteenth Mot. (dkt. #296) 3.) While the spreadsheets

may contain anecdotal and subjective information that Millennium’s President does not

use in the course of his duties, Millennium represents that it will present evidence

through a qualified witness that the test drive spreadsheets were “made at or near the

time by -- or from information transmitted by -- someone with knowledge,” were “kept in

the course of a regularly conducted activity of” Millennium, and were made as “a regular

practice” of Millennium. (Def.’s Opp’n (dkt. #338) 8-9.) Assuming Millennium can lay

this foundation, the court sees no basis to prohibit consideration of this evidence

altogether, although plaintiffs are welcome to challenge its probative value given the

arguable incentive that Millennium had even then to elicit helpful responses.




        D. Eighth Motion in Limine: Exclude Argument that Removing the
           Infringing Graphed Results is a Non-Infringing Substitute and Evidence
           of Millennium’s Alleged “Revised Report” (dkt. #287)

        Plaintiffs seek an order barring Millennium from introducing into evidence revised

RADAR reports, which consistently offer no graphed results, or otherwise arguing to the

jury that these revised reports are an acceptable non-infringing alternative.     Plaintiffs

posit three core reasons for this motion: (1) the RADAR report without the comparative

graph does not constitute a non-infringing substitute or alternative; (2) Millennium failed

to disclose this revised graph before the close of discovery; and (3) any probative value of

these reports would be outweighed by unfair prejudice to Ameritox and confusion of the

jury.


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       On the first issue, as explained above, whether the RADAR report without the

comparative graph constitutes an acceptable substitute is a question of fact for the jury to

consider.22 See supra Section III.A. While plaintiffs maintain that customers buy the

RADAR Report for that comparative graph, Millennium represents that 54% of issued

RADAR reports do not contain the accused graph. (Def.’s Opp’n (dkt. #334) 4 (citing

Declaration of Mark T. Smith, Ex. J (dkt. #307-10) Suppl. Answ. No. 7); see also

Declaration of Rebecca Mandel, Ex. 18 (dkt. #360-18).) Ultimately, it will be up to the

jury to decide whether reports without comparative graphs constitute acceptable

substitutes.

       Millennium also seeks to introduce a newly-revised RADAR report that it recently

created, produced and filed.    (Revised RADAR Report (dkt. #325-1).)          Millennium

contends that it produced this report on the heels of the court’s March 6, 2015, opinion

and order and rolled it out to customers on March 9th.         (Notice Regarding Revised

RADAR Report (dkt. #325).) In response to plaintiffs’ claim that the revised report is

untimely, having been produced after the close of discovery on February 27, 2015,

Millennium contends that Rule 26(e) contemplates supplementation of discovery

responses up to the time of trial. Millennium’s reliance on that section is odd, since it

applies to mandatory disclosures of incomplete or incorrect responses, and its previous




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  Plaintiffs also appear to agree that a RADAR Report revised to remove a comparative
graph is non-infringing. Regardless, that would almost certainly be a question for the
court alone, given its finding that the original RADAR Report infringed as a matter of
law, so that if in dispute the issue could be argued to the court after the jury proceeds to
deliberate on invalidity.
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disclosures were apparently neither until after the close of discovery.        As a result,

Millennium’s disclosure obligation was certainly not untimely.

       Putting aside this issue, Millennium has nevertheless failed to demonstrate why

this report (as opposed to the previously disclosed, long-offered reports) is relevant to its

reasonable royalty calculation.   Millennium appears to concede it is not, contending

instead that the March 2015 revised report is relevant to willfulness because it

demonstrates that Millennium “ceased using the accused graphed portions of the

RADAR Report promptly after this Court rejected Millennium’s claim construction.”

(Def.’s Opp’n (dkt. #334) 9.) The fact that Millennium changed its behavior after the

court found infringement, however, is not relevant to the jury issue on willful

infringement:   whether the “objectively-defined risk [of infringement] . . . was either

known or so obvious that it should have been known to the accused infringer.” In re

Seagate Tech., LLC, 497 F.3d 1360, 1371 (Fed. Cir. 2007) (en banc).

       Finally, Millennium contends that the creation of this new report is relevant to the

jury’s calculation of damages because it creates an end date -- the date on which

infringement ceased. On this much, the court agrees. Millennium may submit testimony

and evidence establishing that it ceased production of the infringing report on March 9,

2015. Accordingly, plaintiff’s motion is denied in part and granted in part. Millennium

may submit evidence and introduce argument about the timely-produced, long offered

RADAR reports that do not contain the graphed results as evidence of a non-infringing

substitute during the damages phase of the trial. Millennium may also produce evidence

and testimony that it ceased production of the infringing report on or about March 9,


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2015, for purposes of arguing for an end date for any damages calculation. In all other

respects, plaintiff’s motion is granted.




       E. Ninth Motion in Limine: Exclude Evidence that Millennium Customers
          Can Opt Out of Receiving Graphed Results and Argument that the
          Number of Infringing Products Is Inflated (dkt. #291)

       Plaintiffs seek an order excluding: (1) evidence that Millennium’s customers could

opt out of receiving a RADAR report without comparative graph results; and (2) any

argument by Millennium that the number of infringing products is inflated, on the basis

that Millennium could have tracked the number of customers who opted out of receiving

the infringing graphed results, but failed to do so. Given its failure to track opt-outs,

plaintiffs contend that any uncertainty in the amount of infringing sales must be

construed against Millennium. (Pls.’ Ninth Mot. (dkt. #291) 2-3 (citing cases).) For the

same reasons, plaintiffs further argue that Millennium should not be allowed to introduce

evidence that Millennium’s customers have the ability to opt out of receiving graphed

results, because that would invite the jury to speculate as to the number of non-infringing

products sold.

       In response, Millennium concedes that it did not track the type of report it sold

on an ongoing basis between June 2011 to March 17, 2012, but was able to “derive” the

number of RADAR reports issued with graphed results, and from that, was able to

estimate the breakdown of graphed versus ungraphed reports over the course of the

infringing period. (Def.’s Opp’n (dkt. #335) 2-3.) The court agrees with Millennium

that as long as a witness -- likely Diane Hancock, Director of Engineering at the time of


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implementation of the accused graphs -- provides an adequate foundation for this

analysis, Millennium is free to introduce both evidence that it sells a RADAR report

without the graphed results and the estimated breakdown of reports with and without the

graphed results during the infringing period.     Ameritox remains free to challenge the

weight the jury should give to this estimation through cross-examination. Plaintiffs are,

of course, free to argue that any uncertainty or confusion as to the amount of

Millennium’s sales of RADAR reports containing the graphed results should be construed

against Millennium for failing to keep precise records of such sales. Plaintiffs may also

provide the court with legal authority for a jury instruction to the same effect outside the

context of spoiliation, which they have not shown. Accordingly, the court will deny this

motion in limine.




       F. Tenth Motion in Limine: Exclude Evidence that Other Companies Do or
          Do Not Offer Graphed Results (dkt. #292)

       Plaintiffs seek an order excluding evidence of other companies offering reports

that do or do not contain graphed comparative results, but fails to develop any argument

in support of this motion. Moreover, as Millennium points out, this evidence is relevant

to several damages considerations, including whether the claimed invention was a sales

driver in the market, the availability of noninfringing alternatives, and how consumers

make purchasing decisions.     The court finds no basis for plaintiffs’ concern that this

evidence will result in mini-trials about whether other parties are infringing, especially

since infringement is no longer at issue in this case. Even if such a concern had merit, it

is outweighed by the probative value of this evidence. The court also denies plaintiffs’

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motion to the extent that they open the door as to secondary considerations of

obviousness. (See Def.’s Opp’n (dkt. #336) 2.).




       G. Eleventh Motion in Limine: Exclude Testimony or Evidence Concerning
          Ameritox’s Investors (dkt. #293)

       Plaintiffs seek an order excluding evidence pertaining to Ameritox’s investors, in

particular Bain Capital. In response, Millennium indicates it has no intent to submit this

evidence, but does seek clarification as to two pieces of evidence it intends to submit.

First, Millennium intends to introduce testimony and evidence that the former President

of U.D. Testing, Robert Bennett, who signed the license agreement between Ameritox

and U.D. Testing, obtained a 25% ownership stake in Ameritox subsequent to the

execution of that license agreement. Because plaintiffs’ damages expert relies on that

license agreement, Millennium asserts without explanation that “[t]his evidence bears

directly on the comparability (or lack thereof) of the U.D. Testing license to the

hypothetical negotiation.” (Def.’s Opp’n (dkt. #337) 2.) This argument seems a bit of a

stretch, since Millennium offers no evidence that Bennett: (1) planned to obtain an

interest in Ameritox at the time he negotiated the license for U.D. Testing; or (2)

received his interest for less than full value. Absent such details, Bennett’s subsequent

acquisition of an ownership interest in Ameritox could just as easily suggest how much he

values its technology, as he obtained a deal that was not arms-length. In case the court is

missing some nuance to Millennium’s argument, the court will reserve on this particular

issue pending further argument at the final pretrial conference.



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       Second, Millennium seeks to introduce a report prepared by Bain & Company as

a consultant for Ameritox in 2010, shortly before the date of the hypothetical

negotiation. Bain & Company appears to be a separate entity from Bain Capital. See

“Bain & Company,” Wikipedia (last visited Mar. 26, 2015) (“Bain & Co. is an entirely

separate entity from Bain Capital. Bain Capital is a private investment firm specializing

in private equity (PE), public equity, leveraged debt asset, venture capital, and absolute

return investments. Bain Capital does not provide management consulting services to its

clients.”). Regardless, Millennium may introduce this report without needing to make

any reference to the fact that Bain Capital is an Ameritox investor.

       Accordingly, the court will grant as unopposed Ameritox’s eleventh motion in

limine, reserving on the issue of whether Millennium may introduce evidence or

testimony that the former President of Testing became an investor in Ameritox after the

parties entered into a license agreement.


       H. Millennium’s Motion in Limine to Exclude Expert Testimony of Carl D.
          Degen (dkt. #303)

       Millennium asserts two main reasons for the motion: (1) Degen’s testimony is

unreliable because he failed to apportion the reasonable royalty to the patented

invention, ignoring the entire market rule; and (2) Degen’s testimony on the U.D.

Testing License should be excluded because it rests on unreliable underlying information.

       Millennium’s motion actually conflates two concerns.       The first is that Degen

failed to consider the fact that Millennium sells products without the graphed results, but

that does not impact the royalty rate analysis. Instead, that information may be relevant


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to the jury’s overall determination of the royalty base.     The second concern is that

Degen failed to account properly for that portion of the royalty rate not attributable to

the patented invention.    This dispute is really about whether Degen could rely on the

underlying license as a starting point to calculate a reasonable royalty for the patented

invention or whether that license is for a broader product. Millennium is certainly free to

cross-examine Degen on this issue or otherwise argue that the $6 royalty rate used in the

U.D. Testing product reflects an entire product, and not just the value of the patented

invention. In particular, Millennium may challenge the basis for Degen’s understanding

that the other rights conveyed in the U.D. Testing License were included at no additional

cost, or that the upfront $2 million payment covered those other rights, as well as

challenge his ultimate conclusion that $6 per sample fee is an accurate reflection of the

value of the patented technology alone.

       Ultimately, however, whether the RADAR reports with graphed results contain

other information may not matter since the royalty rate under the U.D. Testing license

appears to be for technology comparable to that of the patented invention.          While

Millennium is free to offer evidence and argue otherwise, that argument goes to weight,

not admissibility.



       I. Millennium’s Motion in Limine to Exclude Improper Testimony
          Regarding the U.D. Testing License (dkt. #276)

       Relatedly, Millennium seeks to exclude testimony from two witnesses, Harry

Leider and Todd Gardner, regarding Ameritox’s license negotiation and subsequent

license agreement with U.D. Testing, Inc., on the basis that neither has personal

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knowledge regarding this topic as required by Rule 602.23      Millennium also seeks to

exclude Carl Degen from purporting to rely on conversations with these two individuals

in forming his reasonable royalty calculation.

       The crux of Millennium’s argument is that neither Leider nor Gardner was an

Ameritox employee at the time of the negotiation and execution of that licensing

agreement in 2005, and more importantly, they both testified during their respective

depositions that they lacked knowledge about the licensing agreement because it

predated both of them. (Def.’s Br. (dkt. #352) 4-8.) In response, plaintiffs contend that

during the course of Dr. Leider’s employment with Ameritox, he has developed

knowledge about U.D. Testing’s technology at the time of the negotiation, in particular

its commercial readiness, and it is that knowledge Degen is relying upon for purposes of

his royalty opinion. At the very least, plaintiffs contend that they should be afforded an

opportunity to lay the foundation for Leider’s personal knowledge of the U.D. Testing

license and Degen’s reliance on it. The court agrees. Plaintiffs should make an advance

proffer as to Leider’s personal knowledge of the commercial readiness of U.D. Testing’s

technology in and around March 2005, as well as how that knowledge relates to those

who actually negotiated the license.

       As for Gardner, plaintiffs contend that in his role as Chief Financial Officer and

Chief Operating Officer since April 2006, Gardner has personal knowledge of Ameritox’s

performance under the U.D. Testing license and can also testify about Ameritox’s

consideration of the licensing agreement in its negotiations with Marshfield on the

23
   Gardner was Ameritox’s corporate designee under Rule 30(b)(6) on the topic of any
license between Ameritox and U.D. Testing, among other topics.
                                            46
licensing of the patent-in-suit. The court agrees that this appears to be a proper area of

testimony for Gardner and will not exclude it on 602 grounds. Plaintiffs further contend

that “Gardner’s high-level position as the Chief Operating Officer has provided him with

admissible personal knowledge of the UDT License and terms thereof even though he

may have learned this information from another source.” (Pls.’ Opp’n (dkt. #352) 8.)

This contention will also require an advance proffer for the court to assess.

       Accordingly, the court will reserve on Millennium’s motion to exclude Leider and

Gardner’s testimony. Moreover, if Ameritox fails to submit admissible evidence forming

the basis of Degen’s opinion testimony on the UD Testing license agreement, the court

will entertain a renewed motion by Millennium to strike that testimony as well.




IV. Plaintiffs’ Willful Infringement Claim

       A. Motion in Limine to Exclude Evidence of Claimed Willful Infringement
          (dkt. #278)

       Plaintiffs have alleged and intend to pursue at trial a claim that defendants’

infringement was willful, thereby permitting (but not requiring) the court to award

enhanced damages. 35 U.S.C. § 284 (“[T]he court may increase the damages up to three

times the amount found or assessed.”); Beatrice Foods Co. v. New Eng. Printing &

Lithographing Co., 923 F.2d 1576, 1578 (Fed. Cir. 1991) (“It is well-settled that

enhancement of damages must be premised on willful infringement or bad faith.”)

(citations omitted).    Millennium seeks to exclude any evidence or argument on

Ameritox’s willfulness claim on the basis that Ameritox cannot meet the threshold of the

objective inquiry for willfulness as a matter of law. Alternatively, Millennium asks the

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court to prohibit Ameritox from introducing this evidence until after the jury has

deliberated on liability.

       To establish willful infringement, Ameritox “must show by clear and convincing

evidence” that (1) “the infringer acted despite an objectively high likelihood that its

actions constituted infringement of a valid patent,” and (2) “this objectively-defined risk .

. . was either known or so obvious that it should have been known to the accused

infringer.” In re Seagate Tech., 497 F.3d at 1371. This motion in limine concerns the first

prong -- the “objective determination of recklessness” -- which is a question for the court,

not the jury. Bard Peripheral Vascular, Inc. v. W.L. Gore & Assocs., Inc., 682 F.3d 1003,

1006-07 (Fed. Cir. 2012).

       “[T]he ‘objective’ prong of Seagate tends not to be met where an accused infringer

relies on a reasonable defense to a charge of infringement.”       Id. at 1005-06 (internal

citation and quotation marks omitted); see also Spine Solutions, Inc. v. Medtronic Sofamor

Danek USA, Inc., 620 F.3d 1305, 1319 (Fed. Cir. 2010) (overturning jury’s finding of

willful infringement, finding that defendant raised a “substantial question as to the

obviousness” of the patent in suit); Douglas Dynamics, 747 F. Supp. 2d at 1112 (granting

summary judgment on willful infringement claim where there was “reasonable difference

of opinion” and a “close question”).

       Millennium contends that plaintiffs cannot meet the objective prong of willful

infringement with regard to the ’680 patent because its § 101 defense and alternative

claim construction (as well as its related defenses of noninfringement, enablement, and

utility) were objectively reasonable.      As an initial point, plaintiffs respond that


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Millennium’s § 101 defense cannot protect it from a willful infringement claim after the

Supreme Court’s decision in Alice Corporation v. CLS Bank International, 134 S. Ct. 2347

(2014), decided three years before the infringement at issue here. While the court cited

several recent cases in its discussion of Millennium’s § 101 challenge in the court’s

summary judgment opinion, the core requirement that an invention must supply a “new

and useful” result to be patent eligible dates back to the nineteenth century. See Le Roy v.

Tatham, 55 U.S. 156, 159 (1852). As such, the court rejects plaintiffs’ argument that

Millennium cannot rely on a § 101 defense to rebut a claim that its position was not

objectively reasonable.

       While the court agrees with Millennium that it may consider whether its § 101

defense was objectively reasonable, the court declines to do so at this time. Instead, the

court will hear the evidence presented at the liability phase of the trial -- and perhaps

evidence while the jury is deliberating on liability that goes specifically to willful

infringement -- before determining whether Millennium’s § 101 defense was objectively

reasonable.

       As for Millennium’s argument that its claims construction was also objectively

reasonable, the court declines to decide the issue on the eve of trial. As described in the

court’s opinion granting plaintiffs’ summary judgment on infringement of the ‘680

patent described, Millennium’s defense primarily relied on an argument that it does not

know the actual dosage taken by those individuals making up the comparison population.

(3/6/15 Op. & Order (dkt. #256) 3 n.1.) Even if Millennium’s argument that the patent

claims (rather than the examples in the specification) disclose a comparison population


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for a known prescribed dose, Millennium presents no credible basis to hold that the

patent also claims known actual dosage for the comparison population, much less

expressly narrows its claims in that way. (Id. at 4.) Moreover, Millennium’s utility and

enablement defenses -- both of which it is no longer pursuing -- focus on its failed claims

construction argument for the “quantifying” step. As described in the court’s summary

judgment decision, Millennium’s claims construction was deeply flawed (2/19/15 Op. &

Order (dkt. #215) 24-27), making it difficult for Millennium to overcome Ameritox’s

evidence that Millennium’s construction of step (f) was not objectively reasonable.

       In its motion, Millennium also seeks an order prohibiting any evidence of willful

infringement until after the jury has determined liability. As described above, the court

has already granted that request. See supra Section I. As for Millennium’s remaining

request, the court will reserve on the issue of whether Ameritox has demonstrated

through clear and convincing evidence that Millennium acted despite an objectively high

likelihood that its actions constituted infringement of a valid patent at least until the

close of evidence on the liability phase of trial. To the extent necessary, the court will

hear any additional testimony on the objective prong of the willful infringement claim

while the jury is deliberating on validity.




       B. Motion in Limine to Preclude Certain Expert Testimony of Dr. Paul J.
          Orsulak (dkt. #283)

       Millennium seeks an order excluding plaintiffs’ liability expert, Dr. Paul Orsulak,

from testifying in the willful infringement part of this trial. Millennium contends that

Dr. Orsulak’s opinion on willfulness is simply a “regurgitation of the documentary

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record,” namely the timeline of Millennium’s awareness of the ‘680 patent and its

development of the RADAR report, “culminating in Dr. Orsulak’s one paragraph opinion

that it ‘looks like’ Millennium’s launch of the RADAR Report was ‘suspiciously quick.’”

(Def.’s Mot. (dkt. #283) 4 (quoting Orsulak Rebuttal Report (dkt. #118) ¶ 213).)

Millennium posits three main reasons for excluding this testimony: (1) Dr. Orsulak was

not disclosed -- and plaintiffs disavowed his role -- as an expert on willfulness; (2) the

testimony falls outside of his areas of expertise; and (3) such testimony would be

substantially more prejudicial than probative under Rule 403.

       In response, plaintiffs explain that they simply disavowed offering Dr. Orsulak’s

opinion on Millennium’s subjective intent or state of mind, but that they reserved the

possibility of calling Dr. Orsulak to testify about Millennium’s “awareness and copying of

the Rx Guardian CD product, and Millennium’s timeline to launch the infringing

service.” (Pls.’ Opp’n (dkt. #340) 1 (emphasis removed).) Plaintiffs further argue that

these areas fall within Dr. Orsulak’s area of expertise and are relevant to plaintiffs’ willful

infringement claim.

       The court agrees with Millennium that the Dr. Orsulak’s recitation of the

documentary record is not helpful to the trier of fact, even if it is necessary to involve the

jury in a willfulness determination.     Expert testimony will not assist the jury in its

consideration of the timing of Millennium’s knowledge of the ’680 patent and its actions

in developing the RADAR Report to determine whether the “objectively-defined risk [of

infringement]. . . was either known or so obvious that it should have been known to the

accused infringer” -- the subjective prong of the willful infringement claim. Accordingly,


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the court will grant this motion in limine, but will allow Dr. Orsulak to testify briefly to

the court on the objective prong.




V. Millennium’s Willful Infringement Defense

       A. Plaintiffs’ Third Motion in Limine: Exclude Advice of Counsel Defense
          (dkt. #280)

       Plaintiffs contend that Millennium waived its advice of counsel defense through

its President Howard Appel’s testimony that he had no knowledge that Millennium

sought any sort of advice concerning potential infringement.       (Pls.’ Third Mot. (dkt.

#280) 2.)     Plaintiffs also request that the court bar any testimony “related to

Millennium’s belief concerning infringement or the validity of the asserted patent,” since

that “necessarily implicates advice of counsel” as well. (Id.)

       In its response, Millennium does not object to the core of plaintiffs’ motion,

stating that it does not intend to raise an advice of counsel defense.         Millennium,

however, opposes the second part of Ameritox’s motion.             The court agrees with

Millennium that plaintiffs’ attempt to block all evidence or testimony concerning

Millennium’s belief of noninfringement or invalidity of the ‘608 patent goes too far.

Accordingly, the court will grant in part and deny in part this motion in limine.

Millennium will not be allowed to present evidence or argue that it relied on the advice

of counsel -- a defense it has disavowed -- but Millennium may present evidence and

testimony during the second phase of trial with regards to its belief that the ‘680 patent

was invalid and the RADAR report did not infringe that patent. The court will await




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further argument from counsel, but it appears that this evidence and testimony goes to

the objective prong of the willful infringement claim.




       B. Plaintiffs’ Seventh Motion in Limine: Exclude Evidence Concerning the
          Alleged Reasonableness of Millennium’s Litigation Defenses, Argument
          that Plaintiffs Must Prove Copying to Prove Willfulness, and Any
          Mention of Potential Treble Damages (dkt. #286)

       This motion covers three separate areas of evidence and testimony.           First,

plaintiffs seek to exclude evidence concerning the alleged reasonableness of Millennium’s

litigation defenses. The court agrees that this evidence should be excluded from the jury

because it goes to the objective element of the willful infringement claim, which is a

question for the court, not the jury. The court, however, will consider this issue while

evidence is presented to the jury on liability. To the extent the parties wish to submit

additional evidence solely concerning the objective prong of the willful infringement

claim, the court will also hear that evidence while the jury is deliberating on liability.

Accordingly, the court will grant this portion of the motion as to introduction of this

evidence to the jury, but deny it in all other respects.

       Second, plaintiffs seek to exclude any argument that Ameritox “must prove

Millennium copied Ameritox’s Rx Guardian CD service to prove willful infringement.”

In support of this motion, plaintiffs contend that the proper inquiry is not whether the

defendant copied a competitor’s commercial embodiment, but rather whether they knew

or should have known that it was infringing a valid patent. As Millennium points out,

however, copying an alleged invention can form the basis of a willful infringement

finding.   (Def.’s Opp’n (dkt. #347) 7 (citing Knorr-Bremse Systeme Fuer Nutzfahrzeuge

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GmbH v. Dana Corp., 383 F.3d 1337, 1348-49 (4th Cir. 2004) (“There are many

circumstances that may create an appropriate predicate for a finding of willful

infringement, and hence punitive damages, including deliberate copying . . . .”)).) If

plaintiffs open the door by presenting evidence that Millennium copied the Rx Guardian

CD product, then Millennium is of course free to put forth evidence refuting this claim.

Ultimately, however, the jury will be instructed on the proper standard for considering

the subjective prong of the willful infringement claim, which does not require a finding of

copying. Accordingly, the court will grant in part and deny in part the second portion of

this motion.

       Third, plaintiffs seek an order barring Millennium from informing the jury that a

willfulness finding comes with a potential trebling of damages, citing Rules 402 and 403.

Millennium opposes this portion of the motion, arguing that this information is

appropriate, citing pattern jury introductory instructions informing the jury of the

possibility of treble damages upon a finding of willful infringement. (Def.’s Opp’n (dkt.

#347) 7-8 (quoting Federal Jury Practice & Instructions, 3A Fed. Jury Pract. & Instr. Ch.

158 Instructions (6th ed. 2014) (“The court may, in its discretion, increase the damages

up to three times the amount found or assessed.          A finding of willful infringement

authorizes enhanced damages, but does not mandate an award of increased damages.”)).)

Notably, this instruction comes from lengthy pattern introductory instructions, covering

a variety of areas of patent law, but is not located in any substantive instructions on

willful infringement in this or any other set of pattern instructions reviewed by this court.




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       The court finds no basis for informing the jury of the possible impact of its

decision on the subjective element of the willful infringement claim. The jury’s role will

be limited to determining whether any objectively-defined risk of infringement (assuming

the court finds one) was either known or so obvious that it should have been known to

Millennium. Millennium articulates no reason for the jury to be advised of the possible

impact of its decision on this issue. The court also agrees with Ameritox that awareness

of the possibility of treble damages may prejudice the jury. Accordingly, the court will

grant this portion of the motion in limine.




VI. Miscellaneous Motions In Limine

       A. Plaintiffs’ Fourth Motion in Limine: Exclude Evidence Concerning Prior
          Litigations Involving Ameritox and Millennium (dkt. #281)

       Plaintiffs’ seek an order excluding evidence of prior litigation between Ameritox

and Millennium, most notably Millennium’s false advertising claim against Ameritox

filed in November 2010 in the District of Maryland.        Millennium Laboratories, Inc. v.

Ameritox, Ltd., Civil Action No. 1:10-cv-3327 (D. Md.). Plaintiffs argue that that this

evidence is not relevant and, even if relevant, any probative value would be outweighed

by the prejudice to Ameritox. There appears to be agreement that any specific reference

to that lawsuit has no place in this trial. Millennium contends that certain evidence,

admissions or arguments made by Ameritox in that litigation are relevant to its

obviousness claim and to plaintiffs’ damages and willfulness claims.        In particular,

Millennium directs the court to evidence submitted by Ameritox during that trial

indicating the “overuse or underuse, or other capabilities of comparison, did not drive

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purchasing decisions.”   (Def.’s Opp’n (dkt. #349) 4.)       Millennium argues that this

evidence would be relevant to rebut a claim of commercial success due to copying.

Consistent with the court’s discussion above (see supra Section II.E.), the jury will be

instructed that in considering whether an invention was not obvious, they may consider

whether the claimed invention was commercially successful. Should plaintiffs open the

door and present evidence of the commercial success of the patented invention as part of

their defense to Millennium’s obviousness claim, then Millennium may introduce

evidence that Ameritox, its employee(s) and its expert(s) previously disclaimed in a prior

litigation that the patented invention drove the sales of its products. Preferably this will

be done by impeachment or reading in sworn statements by a party opponent, but the

court would also consider some other, more direct statement from the parties.

Accordingly, the court directs the parties to attempt to agree on a joint, straightforward

statement, or failing that, to submit alternative statements to the court on or before

Thursday, April 9th.

       In addition, Millennium contends that this same evidence is relevant to the

damages phase of the trial.    In particular, Millennium argues this evidence bears on

Georgia-Pacific Factor 8, the commercial success of the patented product.        The court

agrees. Millennium may introduce evidence of Ameritox’s admissions in a prior lawsuit

that the patented invention did not drive sales of its Rx Guardian CD product. The

parties are to agree jointly on an appropriate statement on this subject as well, or

alternatively submit separately-proposed statements, for the court’s consideration by

April 9th.


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       Finally, Millennium contends that Ameritox took the position in the false

advertising case that its Rx Guardian and Rx Guardian CD products “could determine

dose compliance,” and that this evidence is relevant to showing Millennium’s

“reasonable, good faith belief” that it “was not doing what Ameritox was doing.” (Def.’s

Opp’n (dkt. #349) 7.) As an initial matter, the court is concerned that this argument

veers too closely to Millennium’s failed claims construction argument. In particular, the

court is concerned with Millennium’s continuing efforts to conflate normalized data of

patients’ metabolization of a particular drug with individualized data monitoring actual

compliance.   Even if this argument had merit in the willfulness context, whether

Millennium’s belief that the RADAR reports did not infringe the ‘680 patent was

reasonable or held in good faith would go to the objective prong of the willfulness claim

and, therefore, will only be considered by the court outside the jury’s consideration of

that claim.

       Accordingly, for the reasons described above, the court will grant in part and deny

in part Ameritox’s motion.




       B. Motion In Limine to Exclude Irrelevant Litigation and Financial
          Information (dkt. #300)

       Finally, Millennium seeks to exclude evidence or testimony regarding “irrelevant”

litigation and financial information pursuant to Federal Rules of Evidence 401, 402, and

403. In particular, Millennium seeks to exclude evidence or reference to the (1) unfair

competition lawsuit between Millennium and Ameritox in the Middle District of Florida,

and in particular the jury verdict (entered against it) and an allegation of spoliation of

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evidence, (2) Department of Justice investigations into both parties, and (3) litigation

involving former Millennium employees. Plaintiffs also wish to “avoid all of these issues

during trial in this case.”      As such, the court will grant Millennium’s motion as

unopposed.

        In opposing the motion, however, plaintiffs also direct the court to two types of

evidence they seek to introduce as part of their damages cases. The first apparently was

introduced in the Florida litigation and involves net revenue per specimen in March

2005, when Ameritox entered into a licensing agreement with U.D. Technology,

compared to June 2011, the date of the hypothetical negotiation in 2011. Plaintiffs

would offer this evidence to rebut the testimony of Millennium’s expert Bero that the

U.D. Technology license is not comparable because of changing market conditions.

Moreover, plaintiffs also seek to admit evidence of Ameritox’s and Millennium’s

respective average net revenue per specimen of approximately $210 in June 2011 in order

to demonstrate that the $6 royalty rate sought by Ameritox is reasonable. The court

agrees with Ameritox that this evidence may well be relevant to its damages claim. That

ruling takes it outside the court’s grant of Millennium’s motion to exclude “irrelevant”

litigation or financial information. To the extent either side is somehow confused about

that, hopefully this clarification is sufficient.

        Second, plaintiffs seek to introduce evidence demonstrating that Millennium

relied on the infringing graphed results to seek refinancing beginning in October 2011,

shortly after the date of the hypothetical negotiation, and again as recently as March

2014.    The court again agrees with plaintiffs that this evidence is at least arguably


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relevant to how Millennium valued or at least purported to value the infringing portion

of its RADAR Reports product, and accordingly may counter evidence Millennium seeks

to present -- and for which the court has denied plaintiffs’ motions in limine -- that the

value of the RADAR Reports is in the non-infringing portions. Although this too has

nothing to do with Millennium’s motion, the court further clarifies that this financial

information may also be admissible.


VII. Exhibits

       Given that the parties have now submitted exhibit lists totaling 1,334 (plaintiffs:

237; defendant: 1,097), the court is concerned that the parties have (1) not taken

sufficient time to actually consider what exhibits will realistically be moved into evidence

at this trial, as opposed to used for impeachment or other purposes; (2) failed to consider

adequately more practical, effective means to present evidence to a jury, including use of

summaries under Fed. Evid. R. 1006; and (3) made little effort to govern their

submissions based on likely, meritorious objections by the other side.       That concern

remains notwithstanding the unsolicited assurances to the contrary by defendant’s

counsel. (Dkt. #377.) The court is, however, hopeful that as a result of its rulings on

the parties’ motions in limine as set forth above, many of the proposed exhibits will be

withdrawn.   The court is also amenable to a designation of exhibits that will not be

offered into evidence during the first phase of trial (validity), so that the focus of the

pretrial conference can be on a more discrete list of exhibits, with the remainder (going to

damages and willfulness) addressed during jury deliberations on validity.



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       Accordingly, whether by phone or in person, the court directs the parties to meet

(again) in good faith no later than 5 p.m. on Monday, April 6, 2015, to confer and pare

down their exhibit lists further. The parties shall then submit no later than noon on

Tuesday, April 7th, revised exhibit lists reflecting exhibits they may actually seek to have

admitted at trial and any remaining objections to those exhibits in a form required by

this court.

                                             ORDER

       IT IS ORDERED that:

     1)       The parties’ joint request for expedited guidance on order of proofs at trial
              (dkt. #374) is GRANTED. The court will follow its usual practice.

     2)       Plaintiffs Ameritox, Ltd. and Marshfield Clinic, Inc.’s motion to exclude
              testimony of Alan H. Wu, Ph.D. (dkt. #246) is DENIED.

     3)       Plaintiffs’ motion to exclude the expert testimony of Richard F. Bero (dkt.
              #274) is DENIED.

     4)       The court RESERVES on defendant Millennium Health, LLC’s motion in
              limine to exclude improper testimony regarding the U.D. Testing License
              (dkt. #276).

     5)       Plaintiffs’ motion in limine 1 (dkt. #277) is DENIED.

     6)       Defendant’s motion to exclude evidence directed to claimed willful
              infringement (dkt. #278) is GRANTED IN PART AND DENIED IN PART
              as set forth above.

     7)       Plaintiffs’ motion in limine 2 (dkt. #279) is GRANTED IN PART AND
              DENIED IN PART as set forth above.

     8)       Plaintiffs’ motion in limine 3 (dkt. #280) is GRANTED IN PART AND
              DENIED IN PART as set forth above.

     9)       Plaintiffs’ motion in limine 4 (dkt. #281) is GRANTED IN PART AND
              DENIED IN PART as set forth above. The parties shall attempt to agree on
              a joint, short statement on statements made or positions taken by parties in
              previous litigation, or submit for the court’s consideration alternative,
              proposed statements on or before April 9, 2015.

     10)      Plaintiffs’ motion in limine 5 (dkt. #282) is DENIED.
11)   Defendant’s motion in limine to preclude certain expert testimony of Dr.
      Paul J. Orsulak (dkt. #283) is GRANTED as set forth above.

12)   Plaintiffs’ motion in limine 6 (dkt. #285) is DENIED.

13)   Plaintiffs’ motion in limine 7 (dkt. #286) is GRANTED IN PART AND
      DENIED IN PART as set forth above.

14)   Plaintiffs’ motion in limine 8 (dkt. #287) is GRANTED IN PART AND
      DENIED IN PART as set forth above.

15)   Plaintiffs’ motion in limine 9 (dkt. #291) is DENIED.

16)   Plaintiffs’ motion in limine 10 (dkt. #292) is DENIED.

17)   Plaintiffs’ motion in limine 11 (dkt. #293) is GRANTED as unopposed.

18)   Plaintiffs’ motion in limine 12 (dkt. #294) is DENIED;

19)   Plaintiffs’ motion in limine 13 (dkt. #295) is GRANTED.

20)   Plaintiffs’ motion in limine 14 (dkt. #296) is DENIED.

21)   Defendant’s motion in limine to exclude evidence or testimony regarding
      irrelevant litigation and financial information (dkt. #300) is GRANTED as
      unopposed.

22)   Defendant’s motion in limine to exclude testimony of Carl G. Degen (dkt.
      #303) is DENIED.

23)   Whether by phone or in person, the parties shall meet in good faith no later
      than 5 p.m. on Monday, April 6, 2015, to confer and pare down their exhibit
      lists further.

24)   The parties shall then submit no later than noon on Tuesday, April 7th,
      revised exhibit lists reflecting exhibits they may actually seek to have
      admitted at trial and any remaining objections to those exhibits in a form
      required by this court.

 Entered this 3rd day of April, 2015.

                                   BY THE COURT:

                                   /s/
                                   __________________________________
                                   WILLIAM M. CONLEY
                                   District Judge


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